            Case 1:15-cr-00045-LJO-BAM Document 75 Filed 08/04/15 Page 1 of 3


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 6
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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                            CASE NO. 1:15 –CR-00045 LJO/SKO
12
                                    Plaintiff,            STIPULATION AND ORDER BETWEEN THE
13                                                        UNITED STATES AND MAHENDRA PRASAD
                             v.
14
     JYOTESHNA KARAN, et al
15
                                    Defendant.
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18
                                                  STIPULATION
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            WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
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     information including but not limited to tax returns, Social Security numbers, dates of birth, financial
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     account numbers, credit card numbers, telephone numbers, residential addresses, tax returns and
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     supporting documents, and confidential business and accounting records (“Protected Information”); and,
24
            WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
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     unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court
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     proceedings in this matter;
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            The parties agree that entry of a stipulated protective order is appropriate.
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      STIPULATION AND ORDER                               1

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            Case 1:15-cr-00045-LJO-BAM Document 75 Filed 08/04/15 Page 2 of 3


 1          THEREFORE, defendant MAHENDRA PRASAD, by and through his counsel of record, Carrie

 2 McCreary (“Defense Counsel”), and plaintiff, the United States of America, by and through its counsel

 3 of record, hereby agree and stipulate as follows:

 4          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 5 Criminal Procedure, and its general supervisory authority.

 6          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 7 part of the discovery in this case (hereafter, collectively known as the “discovery”).

 8          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share or

 9 provide any documents that contain Protected Information with anyone other than Defense Counsel and

10 designated defense investigators and support staff.

11          4.      The parties agree that Defense Counsel, defense investigators, and support staff shall only

12 provide the defendant with copies of documents subject to these agreements:

13                  a)       The defendant shall only be provided with copies of documents that do not

14          contain Protected Information or copies of documents from which Protected Information has

15          been redacted.

16                  b)       Defense Counsel may permit the defendant to view unredacted documents in the

17          presence of his attorney, defense investigators and support staff.

18                  c)       The parties agree that Defense Counsel, defense investigators, and support staff

19          shall not allow the defendant to copy or record Protected Information contained in the discovery.

20          5.      The discovery and information therein may be used only in connection with the litigation

21 of this case and for no other purpose. The discovery is now and will forever remain the property of the

22 United States Government. Defense Counsel will return the discovery to the Government or certify that

23 it has been destroyed at the conclusion of the case.

24          6.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

25 ensure that it is not disclosed to third persons in violation of this agreement.

26          7.      Defense Counsel shall be responsible for advising the defendants, employees, other

27 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

28          8.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

      STIPULATION AND ORDER                               2

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           Case 1:15-cr-00045-LJO-BAM Document 75 Filed 08/04/15 Page 3 of 3


 1 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by /

 2 this Order or the Court modifies this Order regarding such transfer of discovery.

 3          IT IS SO STIPULATED.

 4 Dated: July 29, 2015                                     BENJAMIN B. WAGNER
                                                            United States Attorney
 5
                                                            /s/ MARK E. CULLERS
 6
                                                            MARK E. CULLERS
 7                                                          Assistant United States Attorney

 8 Dated: August 3, 2015
                                                            /s/ CARRIE McCREARY
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10                                                          CARRIE McCREARY
                                                            Attorney for Mahendra Prasad
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     IT IS SO ORDERED.
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14      Dated:    August 4, 2015                             /s/ Lawrence J. O’Neill
                                                     UNITED STATES DISTRICT JUDGE
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      STIPULATION AND ORDER                             3

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